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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:06CR3023
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
SHAWN TULL,                                 )
                                            )
                    Defendant.              )

      On the court’s own motion, and with the agreement of counsel of record,

       IT IS ORDERED that the defendant’s evidentiary hearing and sentencing are
rescheduled to Friday, March 16, 2007, from 12:30-1:30 p.m., before the undersigned United
States district judge, in Courtroom No. 1, Robert V. Denney Federal Building and United
States Courthouse, 100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be
present unless excused by the court.

      February 22, 2007.                 BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
